   Case 20-20425-GLT           Doc 245 Filed 02/24/21 Entered 02/24/21 14:41:34                       Desc OSDC
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Form 600v
                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

VideoMining Corporation                                     :           Case No. 20−20425−GLT
25−1853162                                                  :           Chapter: 11
     Debtor(s)                                              :
                                                            :
VideoMining Corporation                                     :
       Movant(s),                                           :
                                                            :           Related to Document No. 241
     v.                                                     :
No Respondent                                               :           Hearing Date: 3/18/21 at 09:30 AM
        Respondent(s).                                      :
                                                            :
                                                            :

               ORDER SCHEDULING DATES FOR RESPONSE AND HEARING ON MOTION
                 (VIDEO CONFERENCE PROCEDURES EFFECTIVE OCTOBER 1, 2020)


            AND NOW, this The 24th of February, 2021, a Certification of Counsel for Fifth Stipulation
Modifying and Extending Orders Authorizing DIP Financing and Use of Cash Collateral having been filed at Doc.
No. 241 by the Debtor,

            It is hereby ORDERED, ADJUDGED and DECREED that:

            (1) Pursuant to Bankruptcy Rule 7004, Counsel for the Moving Party shall IMMEDIATELY serve a
copy of this Order and the Motion upon all parties from whom relief is sought, their counsel, the U.S. Trustee and all
those identified on the Certificate attached to the Motion. In Chapter 11 cases, all equity security holders, if any, are
to be served. Counsel for the Moving Party shall then file a Certificate of Service. Failure to properly serve the
Motion or file the Certificate may result in the dismissal of the Motion.

            (2) On or before March 12, 2021, any Response, including a consent to the Motion, shall be filed with
the Clerk's Office at U.S. Bankruptcy Court, 5414 U.S. Steel Tower, 600 Grant Street, Pittsburgh, PA 15219 and
served on the counsel for the Moving Party.

           (3) This Motion is scheduled for a video conference, non−evidentiary hearing on March 18, 2021 at
09:30 AM at Zoom location, https://www.zoomgov.com/j/ at which time the parties and/or their counsel shall appear
by video and the Court will dispose of the Motion. Parties or counsel of record who intend to participate in the
hearing shall make arrangements as directed by Judge Taddonio's Modified Procedures For Remote Participation
(http://www.pawb.uscourts.gov/procedures−2) no later than 4:00 p.m. on the business day prior to the hearing.

             (4) If, after proper service, a Respondent fails to timely file a Response, the Court may determine that no
hearing is required and accordingly enter an order by default. To determine if a default order has been entered, the
Moving Party is directed to the Court's website at www.pawb.uscourts.gov, one day prior to the hearing. To view
the calendar for Judge Gregory L. Taddonio refer to the calendar section. In the event a default order has been
entered, the Moving Party shall IMMEDIATELY advise all affected parties. If a default order has not been entered,
the parties will be required to appear at the hearing.

            (5) A maximum of 10 minutes has been allotted to hear this matter. Should this matter require more than
10 minutes, the parties are required to so notify the Courtroom Deputy IMMEDIATELY.

(6) On or before February 26, 2021, Movant shall
file notice of the stipulation and proposed guaranty
in the Rajeev Sharma Chapter 7 Bankruptcy Case at
Case No. 20−22860−GLT.
  Case 20-20425-GLT    Doc 245 Filed 02/24/21 Entered 02/24/21 14:41:34   Desc OSDC
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cm: Debtor
    Debtor's Counsel
